Case 1:00-cv-01898-VSB-VF Document 2612-10 Filed 07/14/09 Page1of3

EXHIBIT I
Case 1:00-cv-01898-VSB-VF Document 2612-10 Filed 07/14/09 Page 2 of 3

bpp

ee

23704928
S seats

Feb 10 2009
12:02PM

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In Re: Methyl Tertiary Butyl Ether ("MtBE") MDL No. 1358
Products Liability Litigation Master File C.A. No.
1:00-1898 (SAS)

This document relates to the following cases:

City of New York v. Amerada Hess Corp., et al.

04 Civ. 3417

EXPERT REPORT OF Donald K, Cohen, CPG
Marnie A. Bell, P.E.
Malcolm Pirnie, Inc.
2701 Queens Plaza North, Suite 800
Long Island City, NY 11101

\ ) Nats A \( ah ayy February 7, 2009

Wp  fBLf February 7, 2009

Signature Date

Case 1:00-cv-01898-VSB-VF Document 2612-10 Filed 07/14/09 Page 3of3

Section 3
Technical Approach

peak concentrations in the wells, the composite capture zones are considered an
approximate indicator of the correlation between release and detection in a well. This
method is a standard and generally accepted method for evaluation of capture zones
around wells.

3.2.3. Time of Reported Spills

Potential MTBE sources in or near the model predicted capture zones were identified
from the Toxics Targeting database, relying heavily on the NYSDEC Spills database.
The Spills database files, FOIL information, and defendant supplied remediation files
were reviewed to determine, or at least estimate, the timing of the release of MTBE at
each site.

However, a limitation in the evaluation of potential sources is that the date that the spills
were reported is not necessarily the date that the spill occurred. Often, contamination is
only first discovered when an underground storage tank is upgraded or replaced,
indicating a prior release or releases. In such instances, it is often times the case that the
owner first reports the release to the NYSDEC and a spill number and report is opened in
the Spills database. Because of this time lag, the exact timing and extent of a release can
only be said to have occurred sometime before the report was filed, presenting another
limitation to the evaluation of its impact. Professional judgment was required in
conjunction with the available data to properly assess the timing and extent of releases.

Additionally, varying degrees of emphasis were placed on reported spills based on
volume. Less emphasis was placed on small volume spills at residential or other non-
commercial locations, one time spills of less than 10 gallons, small spills reported as
cleaned up, or spills on paved roadways due to auto accidents or other incidental releases.
More emphasis was placed on reported releases from commercial retail gasoline stations
or other automotive facilities where large volumes of gasoline are handled, and/or where
gasoline containing USTs had failed tank tightness testing. Of special note, if not special
emphasis, were retail gasoline stations or other automotive facilities where waste oil or
motor oil had been reported as contamination in the soil or groundwater. In many cases,
such as the Atlas Station at 108-46 Merrick Blvd (NYSDEC Spill #8806289) the original
spill report was entered as a waste oil release discovered during an underground storage
tank replacement. On further investigation, MTBE was discovered at concentrations up
to 17,000 ppb on the site, highlighting the fact that the potential impact from a site could
not be discounted based on what appeared to be a non-gasoline related release.

3-3

New York City Law Department
Vite 08
area MTBE Expert Report

